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                      UNITED STATES DISTRICT COURT

                        DISTRICT OF SOUTH DAKOTA

                                WESTERN DIVISION


UNITED STATES OF AMERICA,                           5:20-CR-50122-JLV-01

                   Plaintiff,

                                            REPORT AND RECOMMENDATION
      vs.

GEORGE DULL KNIFE,

                   Defendant.



      This matter came before the court for a change of plea hearing on

January 11, 2022. The Defendant, George Dull Knife, appeared in person and

by his court appointed counsel, Stephen Demik, while the United States

appeared by its Assistant United States Attorney.

      The defendant consented in open court to the change of plea before a

United States magistrate judge. This court finds that the defendant’s consent

was voluntary and upon the advice of counsel. The government also consented

to the plea hearing before a magistrate judge. Further, the parties waived their

right to object to the report and recommendation.

      Defendant has reached a plea agreement wherein he intends to plead

guilty to Count 3 of the Indictment which charges him with Assault with a

Dangerous Weapon, in violation of 18 U.S.C. §§ 1153, and 113(a)(3). At the

hearing, the defendant was advised of the nature of the charges to which the
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defendant would plead guilty and the maximum penalties applicable,

specifically: ten (10) years in prison; a $250,000 fine; or both; three (3) years

supervised release; two (2) additional years’ imprisonment if supervised release

is revoked; a $100 special assessment; and restitution.

      Upon questioning the defendant personally in open court, it is the finding

of the court that the defendant is fully competent and capable of entering an

informed plea, that the defendant is aware of the nature of the charges and the

consequences of the plea, and that his plea of guilty to Count 3 of the

Indictment is a knowing and voluntary plea supported by an independent basis

in fact containing each of the essential elements of the offense. The

defendant’s guilty plea to Count 3 of the Indictment is accepted. It is my report

and recommendation that the defendant be adjudged guilty of that offense.

      DATED this 12th day of January, 2022.

                                      BY THE COURT:



                                      DANETA WOLLMANN
                                      United States Magistrate Judge
